         Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 1 of 19




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                             §    Chapter 7
                                                   §
ALEXANDER E. JONES                                 §    Case No. 22-33553
                                                   §
         Debtor.                                   §

   SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF JORDAN &
      ORTIZ, P.C. AS CO-COUNSEL TO THE DEBTOR FOR THE PERIOD
               DECEMBER 02, 2022, THROUGH JUNE 14, 2024

   Name of Applicant:                                                 JORDAN & ORTIZ, P.C.
   Applicant’s Role in Case:                           Co-Counsel to the Debtor
   Date Order of Employment Signed:                    January 20, 2023 (Dkt #105)
                                                            Beginning Date           End Date
   Time period covered by this Application                     12/02/2022            06/14/2024
   Time period(s) covered by prior Applications:               12/02/2022            11/30/2023
   Total fees requested in this Application:                                            $448,420.50
   Total professional fees requested in this Application                                $436,245.50
   Total actual professional hours covered by this Application:                                728.20
   Average hourly rate for professionals:                                                     $599.07
   Total paraprofessional fees requested in this Application:                            $12,175.00
   Total actual paraprofessional hours covered by this Application:                             48.70
   Average hourly rate for paraprofessionals:                                                 $250.00
   Reimbursable expenses sought in this application:                                         $1,818.30
   Total to be Paid to Priority Unsecured Creditors:                                              N/A
   Anticipated % Dividend to Priority Unsecured Creditors:                                        N/A
   Total to be Paid to General Unsecured Creditors:                                               N/A
   Anticipated % Dividend to General Unsecured Creditors:                                         N/A
   Date of Confirmation Hearing:                                                                  N/A
   Indicate whether plan has been confirmed:                                                      No.




FINAL FEE APPLICATION – Page 1
         Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 2 of 19




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §    Chapter 7
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
         Debtor.                                 §

         FINAL FEE APPLICATION OF JORDAN & ORTIZ, P.C. AS CO-COUNSEL
            TO THE DEBTOR FOR THE PERIOD FROM DECEMBER 02, 2022
                            THROUGH JUNE 14, 2024

         If you object to the relief requested, you must respond in writing. Unless
         otherwise directed by the Court, you must file your response electronically at
         https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
         was filed. If you do not have electronic filing privileges, you must file a written
         objection that is actually received by the clerk within twenty-one days from
         the date this application was filed. Otherwise, the Court may treat the pleading
         as unopposed and grant the relief requested.

         Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”) Jordan & Ortiz, P.C. (“J&O”), as co-counsel to the Debtor, hereby files its Final

Fee Application of Jordan & Ortiz, P.C. Co-Counsel for the Debtor for Allowance and Payment

of Fees and Expenses for the Period From December 02, 2022 through June 14, 2024 (the

“Application”).

                                 I.      RELIEF REQUESTED

         1.     J&O requests that the Court enter an order allowing J&O’s compensation for

professional services rendered during December 2, 2022, through June 14, 2024 (the “Application

Period”) for (a) $448,420.50 for professional fees and services provided during the Application

Period, and (b) $1,818.30 for reimbursement of actual and necessary expenses incurred by J&O.



FINAL FEE APPLICATION – Page 2
       Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 3 of 19




                                    II.     JURISDICTION

       2.      The United States Bankruptcy Court for the Southern District Texas (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b).

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The basis for the relief requested herein is § 330 of the Bankruptcy Code,

Bankruptcy Rule 2016, and Bankruptcy Local Rule 2016-1.

                           III.   PROCEDURAL BACKGROUND

       5.      On December 2, 2022, Alexander E. Jones (the “Debtor”) filed a voluntary petition

for relief under Chapter 11 of title 11 of the Bankruptcy Code. The Debtor is an employee of Free

Speech Systems, LLC (“FSS”). FSS filed its voluntary petition for relief under chapter 11 of the

Bankruptcy Code on July 29, 2022.

       6.      On December 21, 2022, the Debtor filed its Application for Entry of Order

Authorizing the Retention and Employment of Jordan & Ortiz, P.C. as Debtor Co-Counsel

Effective as of the Petition Date (the “Retention Application”) [Dkt. No. 71].

       7.      On January 20, 2023, the Court entered its Order Granting Application for Entry of

Order Authorizing the Retention and Employment of Jordan & Ortiz, P.C. as Debtor’s Co-Counsel

Effective as of the Petition (the “Retention Order”) [Dkt. No. 105].

       8.      After approximately eighteen months of attempting to work through the Chapter 11

process and reach an agreement with creditors that would result in a successful plan of

reorganization, the Debtor realized that such an agreed path forward would be impossible. Thus,

on or about June 14, 2024, at the Debtor’s request, the Court entered an Order converting the

Debtor’s Chapter 11 Case to one under Chapter 7 of the Bankruptcy Code [Dkt. No. 708].




FINAL FEE APPLICATION – Page 3
       Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 4 of 19




        9.         J&O performed services throughout the Application Period for which it is seeking

compensation on behalf of the Debtor and his estate, and not on behalf of any committee, creditor,

or other entity.

        10.        Except as set forth in the Retention Application regarding the retainer that was paid

to J&O on November 30, 2022, J&O has received no post-petition retainers and no promises for

payment from any other source and the Debtor for services provided or to be provided in any

capacity whatsoever in connection with this Chapter 11 Case.

        11.        Pursuant to Bankruptcy Rule 2016(b), J&O has not shared, nor has J&O agreed to

share (a) compensation it has received or may receive with any other party or person other than

the partner, counsel, and associates of J&O or (b) any compensation another person or party has

received or may receive.

        12.        On January 20, 2023, the Court entered the Order Granting Motion for Entry of an

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals [Dkt. No. 106] (the “Interim Compensation Order”), setting forth the

procedures for Court approved professionals, including J&O, to serve monthly fee statements

(each, a “Monthly Fee Statement”) on certain parties that include a detailed statement of services

rendered and expenses incurred by each professional for that particular month.

        13.        For the Application Period, J&O has filed the following interim fee applications

(the “Interim Fee Applications”) and the following Monthly Fee Statements:

                   a. First Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                      for Services Rendered as Co-Counsel to the Debtor for the Period from December 2,
                      2022 through December 31, 2022 [Dkt. No. 129];

                   b. Second Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of
                      Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from
                      January 1, 2023 through January 31, 2023 [Dkt. No. 164];




FINAL FEE APPLICATION – Page 4
          Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 5 of 19




                   c. Third Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                      for Services Rendered as Co-Counsel to the Debtor for the Period from February 1,
                      2023 through February 28, 2023 [Dkt. No. 215];

                   d. Fourth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                      for Services Rendered as Co-Counsel to the Debtor for the Period from March 1, 2023
                      through March 31, 2023 [Dkt. No. 252];

                   e. Fifth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                      for Services Rendered as Co-Counsel to the Debtor for the Period from May 16, 2023
                      through June 30, 2023 [Dkt. No. 375];

                   f.   Corrected Sixth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of
                        Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from
                        July 1, 2023 through July 31, 2023 [Dkt. No. 443];

                   g. Seventh Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of
                      Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from
                      August 1, 2023 through August 30, 2023 [Dkt. No. 444];

                   h. Eighth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                      for Services Rendered as Co-Counsel to the Debtor for the Period from September 1,
                      2023 through September 30, 2023 [Dkt. No. 459];

                   i.   Ninth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                        for Services Rendered as Co-Counsel to the Debtor for the Period from October 1,
                        2023 through October 31, 2023 [Dkt. No. 476];

                   j.   Tenth Monthly Fee Statement of Jordan & Ortiz, P.C. for Allowance of Compensation
                        for Services Rendered as Co-Counsel to the Debtor for the Period from November 1,
                        2023 through November 30, 2023 [Dkt. No. 520];

                   k. First Interim Fee Application of Jordan & Ortiz, P.C. as Co-Counsel to the
                      Debtor for the Fee Period from December 2, 2022 Through May 15, 2023 (the
                      “First Interim Fee Application”) [Dkt. No. 306]; and

                   l. Second Interim Fee Application of Jordan & Ortiz, P.C. as Co-Counsel to the
                      Debtor for the Fee Period from May 16, 2023 Through November 30, 2023 (the
                      “Second Interim Fee Application”) [Dkt. No. 527].

           14.     Each Interim Fee Application was granted without objection and has been paid in

full to date1.

           15.     J&O has submitted monthly fee statements for the period following the Second




1
    See, Dkt. No. 346 and 546.


FINAL FEE APPLICATION – Page 5
       Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 6 of 19




Interim Fee Application and has received payments on 80% of the fees and 100% of the expenses

requested in those monthly fee statements.

       16.     Attached hereto as Exhibit “A” are the invoices for legal services rendered to the

Debtor by J&O during the Application Period. The invoices itemize the services rendered in a

format that reflects a description of each service entry, the amount of time spent in rendering the

service, the date the service was performed, who performed the service, and the hourly rate of the

person performing the service. Exhibit A reflects reasonable time and expenses incurred in this

case for the Application Period.

       17.     An analysis of the twelve factors affecting the reasonableness of attorneys’ fees as

set forth in In the Matter of First Colonial Corp. of America, 544 F. 2d 1291 (5th Cir. 1977), cert.

denied, 97 S. Ct. 1696 (1977), aids the Court’s determination of matters affecting compensation.

               a. Customary fee. The fees charged are customary and usual fees charged by J&O

                   and similar firms in the Houston geographical area for the services rendered by

                   the attorneys and paraprofessionals involved.

               b. Contingent nature of fee. This was not a factor in this case.

               c. Time limitations imposed by the client or other circumstances. This case

                   presented time limitations due to the need for certain claims and potential

                   claims to be investigated quickly. J&O was also required to work around the

                   Debtor’s recording schedule. J&O was also required to assist in carefully

                   allocating resources in order to attempt to field the vast number of requests from

                   Plaintiffs and UCC counsel.

               d. Experience, reputation, and ability of attorneys. J&O is well-recognized in the

                   community for its legal expertise and abilities in bankruptcy and litigation




FINAL FEE APPLICATION – Page 6
     Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 7 of 19




               matters.

            e. Undesirability of the case. This was an undeniable factor in this case. J&O

               endured sloppy and inaccurate press reporting, unprofessional and unfounded

               accusations and assumptions from opposing counsel and an unreliable and

               unlevel playing field because of the parties involved in this case.

            f. Nature, length, and professional relationship with client. J&O has an ongoing

               professional relationship with the Debtor.

            g. Awards in similar cases. J&O relies on the Court’s expertise and knowledge

               with respect to fee awards in cases. In J&O’s experience, the fees requested in

               this Fee Application are comparable and likely less than those in cases similar

               in subject matter and complexity. However, it is unlikely the Court will find

               many “similar” cases.

            h. Results obtained. J&O assisted in interviewing dozens of fact witnesses,

               including current and former employees, participated in the Rule 2004

               Examinations of multiple individuals, including former and current employees

               and business or marketing affiliates, collected, organized, and reviewed tens of

               thousands of documents and records from multiple sources, assisted in the

               preparation of the Debtor’s various motions and requests for relief, as well as

               participating in two mediations and the drafting and negotiation of multiple

               iterations of plans of reorganization. Falling short of a successful reorganization

               in this case was not for a lack of trying or good faith on the part of the Debtor

               or J&O.




FINAL FEE APPLICATION – Page 7
       Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 8 of 19




 IV.     REIMBURSEMENT FOR THE PREPARATION OF THE FEE APPLICATION

       18.     Under the Fifth Circuit decision of In re First Colonial Corporation of America,

544 F.2d 1291 (5th Cir.) cert. denied 97 S. Ct. 1696 (1977), and subsequent Fifth Circuit decisions

detailed applications for compensation are mandated. In 1980, in Rose Pass Mines v. Howard, 615

F.2d 1088, the Fifth Circuit condoned the practice of compensating counsel for its efforts in

providing the courts and creditors with the required detailed applications.

       WHEREFORE, CROWE & DUNLEVY, P.C. respectfully requests that the Court: approve

this Fee Application; find that the fees requested in this Fee Application are actual and necessary

for the reasons set forth herein; award J&O (a) $448,420.50 for professional fees and services

provided during the Application Period, and (b) $1,818.30 for reimbursement of actual and

necessary expenses incurred by J&O; and for such other and further relief as the Court deems just.

Dated: June 28, 2024

                                              /s/ Shelby A. Jordan
                                              SHELBY A. JORDAN
                                              State Bar No. 11016700
                                              S.D. No. 2195
                                              ANTONIO ORTIZ
                                              State Bar No. 24074839
                                              S.D. No. 1127322
                                              Jordan & Ortiz, P.C.
                                              500 North Shoreline Blvd., Suite 804
                                              Corpus Christi, TX 78401
                                              Telephone: (361) 884-5678
                                              Facsimile: (361) 888-5555
                                              Email: sjordan@jhwclaw.com
                                                       aortiz@jhwclaw.com
                                              Copy to: cmadden@jhwclaw.com
                                              CO-COUNSEL FOR DEBTOR




FINAL FEE APPLICATION – Page 8
       Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 9 of 19




                                CERTIFICATE OF SERVICE

I certify that on June 27, 2024, true and correct copy of the foregoing document was filed with the
Court and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system as stated in the attached service list.


                                             /s/ Shelby A. Jordan
                                             SHELBY A. JORDAN




FINAL FEE APPLICATION – Page 9
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 10 of 19




                                  ECF SERVICE LIST
Raymond William Battaglia on behalf of Creditor Free Speech Systems, LLC
rbattaglialaw@outlook.com, rwbresolve@gmail.com

Marty L Brimmage on behalf of Creditor Carlee Soto Parisi
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Carlos M Soto
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Committee Official Committee Of Unsecured Creditors
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Committee Official Committee of Unsecured Creditors
of Alexander E. Jones
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor David Wheeler
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Donna Soto
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Francine Wheeler
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Ian Hockley
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Jacqueline Barden
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Jennifer Hensel
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@


FINAL FEE APPLICATION – Page 10
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 11 of 19




akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Jillian Soto-Marino
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Leonard Pozner
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Marcel Fontaine
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Mark Barden
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Neil Heslin
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Nicole Hockley
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Robert Parker
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Scarlett Lewis
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor Veronique De La Rosa
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor William Aldenberg
mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Marty L Brimmage on behalf of Creditor William Sherlach


FINAL FEE APPLICATION – Page 11
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 12 of 19




mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;apraestholm@
akingump.com;txdocketing@akingump.com

Annie E Catmull on behalf of Creditor Free Speech Systems, LLC
aecatmull@o-w-law.com, aecatmull@ecf.courtdrive.com,llumtacae@gmail.com

Ryan E Chapple on behalf of Creditor Carlee Soto Parisi
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Carlos M Soto
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor David Wheeler
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Donna Soto
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Erica L. Ash
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Francine Wheeler
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Ian Hockley
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Jacqueline Barden
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Jennifer Hensel
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Jillian Soto-Marino
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Mark Barden
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Nicole Hockley
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Richard M. Coan


FINAL FEE APPLICATION – Page 12
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 13 of 19




rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor Robert Parker
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor William Aldenberg
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Creditor William Sherlach
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Carlee Soto-Parisi
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Carlos M. Soto
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff David Wheeler
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Donna Soto
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Francine Wheeler
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Ian Hockley
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Jacqueline Barden
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Jennifer Hensel
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Jillian Soto Marino
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Mark Barden
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Nicole Hockley
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com


FINAL FEE APPLICATION – Page 13
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 14 of 19




Ryan E Chapple on behalf of Plaintiff Richard M. Coan
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff Robert Parker
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff William Aldenberg
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple on behalf of Plaintiff William Sherlach
rchapple@cstrial.com, notifications@cstrial.com;corozco@cstrial.com

Scott R. Cheatham on behalf of Creditor Bank of America N.A.
scott.cheatham@arlaw.com, vicki.owens@arlaw.com

Vickie L Driver on behalf of Creditor Free Speech Systems, LLC
Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L Driver on behalf of Debtor Alexander E. Jones
Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Vickie L Driver on behalf of Defendant Alexander E. Jones
Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Bennett Greg Fisher on behalf of Creditor Public Storage
bennett.fisher@lewisbrisbois.com, amber.kaiser@lewisbrisbois.com;audrey.bridges@lewisbrisb
ois.com;jann.pigg@lewisbrisbois.com;maria.brito@lewisbrisbois.com;daniel.david@lewisbrisbo
is.com

Elizabeth Carol Freeman on behalf of Trustee Melissa A Haselden
freemanliz@hotmail.com, kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalker
LLP@jubileebk.net

Jennifer Jaye Hardy on behalf of Creditor Leonard Pozner
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Creditor Marcel Fontaine
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Creditor Neil Heslin
jhardy2@willkie.com, mao@willkie.com



FINAL FEE APPLICATION – Page 14
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 15 of 19




Jennifer Jaye Hardy on behalf of Creditor Scarlett Lewis
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Creditor Veronique De La Rosa
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Plaintiff Estate of Marcel Fontaine
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Plaintiff Leonard Pozner
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Plaintiff Neil Heslin
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Plaintiff Scarlett Lewis
jhardy2@willkie.com, mao@willkie.com

Jennifer Jaye Hardy on behalf of Plaintiff Veronique De La Rosa
jhardy2@willkie.com, mao@willkie.com

Melissa A Haselden on behalf of Trustee Melissa A Haselden
mhaselden@haseldenfarrow.com, haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosf
s.com;mhaselden@ecf.courtdrive.com;haselden.melissaa.r104367@notify.bestcase.com

Eric Henzy on behalf of Plaintiff Richard M. Coan
ehenzy@zeislaw.com

Shelby A Jordan on behalf of Debtor Alexander E. Jones
cmadden@jhwclaw.com

Shelby A Jordan on behalf of Defendant Alexander E. Jones
cmadden@jhwclaw.com

Nicholas Lawson on behalf of Creditor Leonard Pozner
nick.lawson@lmbusinesslaw.com, patricia.flores@mhllp.com

Nicholas Lawson on behalf of Creditor Marcel Fontaine
nick.lawson@lmbusinesslaw.com, patricia.flores@mhllp.com

Nicholas Lawson on behalf of Creditor Neil Heslin
nick.lawson@lmbusinesslaw.com, patricia.flores@mhllp.com



FINAL FEE APPLICATION – Page 15
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 16 of 19




Nicholas Lawson on behalf of Creditor Scarlett Lewis
nick.lawson@lmbusinesslaw.com, patricia.flores@mhllp.com

Nicholas Lawson on behalf of Creditor Veronique De La Rosa
nick.lawson@lmbusinesslaw.com, patricia.flores@mhllp.com

Stephen Wayne Lemmon on behalf of Creditor PQPR Holdings Limited, LLC
lemmon@slollp.com, mates@slollp.com

Patrick Michael Lynch on behalf of Creditor Ally Bank
plynch@qslwm.com, jtownzen@qslwm.com

John D Malone on behalf of Creditor Security Bank of Texas
myra@johnmalonepc.com, myra@johnmalonepc.com

Jarrod B. Martin on behalf of Creditor Leonard Pozner
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Creditor Marcel Fontaine
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Creditor Neil Heslin
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Creditor Scarlett Lewis
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Creditor Veronique De La Rosa
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Plaintiff Estate of Marcel Fontaine
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Plaintiff Leonard Pozner
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com



FINAL FEE APPLICATION – Page 16
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 17 of 19




Jarrod B. Martin on behalf of Plaintiff Neil Heslin
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Plaintiff Scarlett Lewis
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin on behalf of Plaintiff Veronique De La Rosa
jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluesty
lus.com;valerie.herrera@chamberlainlaw.com

Melanie A. Miller on behalf of Creditor Committee Official Committee Of Unsecured Creditors
melanie.miller@akingump.com

Avi Moshenberg on behalf of Creditor Leonard Pozner
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Creditor Marcel Fontaine
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Creditor Neil Heslin
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Creditor Scarlett Lewis
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Creditor Veronique De La Rosa
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Plaintiff Estate of Marcel Fontaine
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Plaintiff Leonard Pozner
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Plaintiff Neil Heslin
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Plaintiff Scarlett Lewis
avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg on behalf of Plaintiff Veronique De La Rosa


FINAL FEE APPLICATION – Page 17
      Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 18 of 19




avi.moshenberg@lmbusinesslaw.com, avi.moshenberg@lmbusinesslaw.com

Christopher R Murray
chris@jonesmurray.com, crm@trustesolutions.net

Ha Minh Nguyen on behalf of U.S. Trustee US Trustee
ha.nguyen@usdoj.gov

Johnie J Patterson on behalf of Creditor Elevated Solutions Group, LLC
wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

Bradley J. Reeves on behalf of Creditor Reeves Law, PLLC
bradley.reeves@pillsburylaw.com

Federico Andino Reynal on behalf of Attorney Reynal Law Firm, P.C.
areynal@frlaw.us

Stephen A Roberts on behalf of Interested Party David Ross Jones
sroberts@srobertslawfirm.com, 1222805420@filings.docketbird.com

Jayson B. Ruff on behalf of U.S. Trustee US Trustee
jayson.b.ruff@usdoj.gov

Jason Starks on behalf of Creditor Travis County
bkecf@traviscountytx.gov

Christina Walton Stephenson on behalf of Attorney Crowe & Dunlevy
Crissie.Stephenson@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.c
om

Christina Walton Stephenson on behalf of Debtor Alexander E. Jones
Crissie.Stephenson@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.c
om

Christina Walton Stephenson on behalf of Defendant Alexander E. Jones
Crissie.Stephenson@crowedunlevy.com, elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.c
om

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Yoshie Valadez on behalf of Creditor Bank of America N.A.
mhtbkanhsselffilings@mccarthyholthus.com, yvaladez@mccarthyholthus.com


FINAL FEE APPLICATION – Page 18
     Case 22-33553 Document 747 Filed in TXSB on 06/28/24 Page 19 of 19




Joshua W. Wolfshohl on behalf of Trustee Christopher R Murray
jwolfshohl@porterhedges.com, egarfias@porterhedges.com;ysanders@porterhedges.com;eliana-
garfias-8561@ecf.pacerpro.com




FINAL FEE APPLICATION – Page 19
